                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR16-1021-LTS
 vs.                                                          ORDER
 CHRISTOPHER NAUMAN,
               Defendant.
                                  ____________________

       This matter is before me on a Report and Recommendation (R&R) in which the
Honorable Jon Stuart Scoles, Chief United States Magistrate Judge, recommends that I
accept defendant’s plea of guilty. See Doc. No. 150.


                                  I.    BACKGROUND
       On October 5, 2016, defendant was charged in Count 1 of a two-count superseding
indictment (Doc. No. 122) with conspiracy to distribute a controlled substance in
violation of 21 U.S.C. § 846. On October 27, 2016, defendant appeared before Judge
Scoles and changed his plea to guilty as to Count 1. Judge Scoles filed the R&R on the
same date. The parties have waived the right to object to the R&R and have consented
to its acceptance. See Doc. No. 151.


                            II.   APPLICABLE STANDARDS
       A district judge must review a magistrate judge’s R&R in a criminal case under
the following standards:
       Within fourteen days after being served with a copy, any party may serve
       and file written objections to such proposed findings and recommendations
       as provided by rules of court. A judge of the court shall make a de novo
       determination of those portions of the report or specified proposed findings



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       or recommendations to which objection is made. A judge of the court may
       accept, reject, or modify, in whole or in part, the findings or
       recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.

28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                  III.     DISCUSSION
       Because neither party objects to the R&R, I have reviewed it for clear error. Based
on that review, I am not “left with the definite and firm conviction that a mistake has
been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the R&R



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without modification and accept defendant’s plea of guilty in this case to Count 1 of the
superseding indictment.


      IT IS SO ORDERED.
      DATED this 27th day of October, 2016.




                                        ________________________________
                                        LEONARD T. STRAND
                                        UNITED STATES DISTRICT JUDGE




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